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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

MARYLAND, et al.,                       *

              Plaintiffs,               *

     v.                                 *

UNITED STATES DEPARTMENT OF             *       Case No. 1:25-cv-00748-JKB
AGRICULTURE, et al.,
                                        *
              Defendants.
                                        *

                                        *

          *    *       *    *   *   *       *      *     *     *     *       *

                    MEMORANDUM IN SUPPORT OF PLAINTIFFS’
                   MOTION FOR TEMPORARY RESTRAINING ORDER
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


MARYLAND, et al.,                               *

                Plaintiffs,                     *

       v.                                       *

UNITED STATES DEPARTMENT OF                     *       Case No. 1:25-cv-00748-JKB
AGRIGULTURE, et al.,
                                                *
                Defendants.
                                                *

                                                *

            *    *       *    *      *      *       *      *     *      *      *      *

                      MEMORANDUM IN SUPPORT OF PLAINTIFFS’
                     MOTION FOR TEMPORARY RESTRAINING ORDER

       Plaintiff States are suffering significant and irreparable harm caused by the unannounced,

unlawful, mass termination of federal employees who work or reside in our jurisdictions. These

mass firings were executed illegally, without proper process or the statutorily required notice to

Plaintiff States. States are now left to pick up the pieces of the shattered federal workforce—

addressing numerous unemployment compensation requests and helping our residents seek new

jobs as each new wave of terminations crests. This Court should halt the unlawful firings now.

       Since taking office on January 20, President Trump has made clear his desire to

“dramatically reduce the size of the federal workforce.” In keeping with that directive, the Office

of Personnel Management (“OPM”) directed agencies to terminate the bulk of the roughly 220,000

probationary employees serving in the federal government, i.e., those who have generally been in

their positions for less than two years. To execute these marching orders, OPM provided agencies

with stock language that cites the employees’ performance as the reason for their terminations.
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The Defendant agencies have followed OPM’s directives, using boilerplate language to unlawfully

fire probationary employees by the hundreds or thousands—all without any advance notice or

warning to Plaintiff States. Defendants have not made official statistics available, but public

reporting indicates that they have already terminated roughly 24,000 probationary employees in

just over three weeks, and that more terminations are expected any day.

       These unannounced mass layoffs have created growing chaos and confusion. Thousands

of affected individuals have been fired and must now make pressing decisions about healthcare,

unemployment benefits, and reemployment. For help, they are turning to Plaintiff States, who are

responsible under both federal and state law for supporting their unemployed residents. But states

are struggling to fulfill these obligations effectively without the forewarning required by federal

law. States need notice to prepare for and mitigate the administrative burdens associated with a

sharp uptick in federal unemployment claims; to plan and budget for the deployment of job

transition and social services; and to facilitate connections between impacted workers, potential

new employers, and partner organizations.

       By firing tens of thousands of civil servants en masse without notice and under false

pretenses, Defendants have impeded the ability of Plaintiff States to perform this essential work.

And those harms are ongoing. The effective dates of employees’ terminations are occurring on a

rolling basis, and public reporting indicates that more terminations are imminent. States, however,

generally have no idea how many of their residents have been or will be fired, or when such

terminations occur, until employees begin requesting state benefits. And, because of the haphazard

way these firings occurred, adjudicating employees’ eligibility for unemployment benefits will

require an outsized expenditure of resources. Beyond that, states are suffering from other injuries,

including decreased income and sales tax revenues due to the unlawful mass firings.




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       None of this is legal. Civil servants—including probationary employees—may generally

be fired only after a finding of unsatisfactory performance or misconduct, or else as part of a

reduction in force (“RIF”). While the template termination language provided by OPM generically

cites performance, that is clearly not the basis for these terminations. Instead, Defendant agencies

are engaged in unlawful RIFs to shrink the size of the federal workforce. But to conduct a RIF,

federal law requires 60 days’ advance notice to affected employees and—importantly for Plaintiff

States—requires 60 days’ advance notice to states and local governments. See 5 U.S.C.

§ 3502(d)(3)(A) (requiring notice to states when 50 or more employees will be released from

within a “competitive area”); 5 C.F.R. § 351.803(b) (same). These notice requirements are

designed to mitigate the harms of large-scale federal firings—to give federal employees an

opportunity to seek new jobs, which in turn reduces the strain on state social services, and to give

states an adequate opportunity to address the inevitable fallout. Defendants’ actions have

extinguished these vital safeguards.

       To prevent further irreparable harm, this Court should grant immediate relief (1) restraining

Defendants from terminating any probationary employees without making specific, individualized

determinations regarding the inadequacy of the employee’s conduct or performance, (2) reinstating

probationary employees who were terminated on or after January 20, 2025, as part of mass

terminations that did not comply with RIF procedures and were not based on individual

determinations of conduct or performance, and (3) ordering Defendants to file a status report with

the Court within 48 hours of entry of a temporary restraining order, and at regular intervals

thereafter, identifying under seal all probationary employees terminated on or after January 20,

2025 (including the following information for each employee: agency, name, position title, grade,

termination date, whether the probationary employee has been reinstated, and the date of any




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reinstatement), and reporting all steps Defendants have taken to comply with the Court’s order.


                                          BACKGROUND

A.     Legal Framework.

           a. Probationary employees.

       Under civil service laws, new employees and certain employees who have changed offices

or recently received a promotion are subject to probationary or trial periods. See 5 U.S.C. § 7101

et seq. For employees in the “competitive” service, the “probationary period” is one year, id.

§ 7511(a)(1)(A)(ii); for employees in the “excepted” service, there is a similar “waiting period” of

two years, id. § 7511(a)(1)(C)(ii).1 Defendants’ mass terminations have affected both competitive

and excepted service employees, and for ease of reference, this brief refers to both groups as

“probationary” employees. A federal agency may generally terminate a probationary employee

only: (1) for cause or (2) as part of a reduction in force.

       Under OPM regulations, a federal agency may lawfully terminate a probationary employee

for “unsatisfactory performance or conduct” if their “work performance or conduct . . . fails to

demonstrate [their] fitness or [their] qualifications for continued employment.” 5 C.F.R.

§ 315.804(a). To invoke this provision, however, an employer “must honestly be dissatisfied with

the probationer’s conduct or performance after giving him a fair trial on the job.” McGuffin v. SSA,

942 F.3d 1099, 1102 (Fed. Cir. 2019) (internal quotation marks omitted); Shaw v. United States,

622 F.2d 520 (Ct. Cl. 1980) (similar).2 And the agency must notify the terminated employee in

writing “as to why he is being separated and the effective date of the action,” including “the


       1
        Competitive service employees are hired through an open, competitive hiring process and
excepted service employees are appointed through a non-competitive hiring process.
       2
          Probationary employees may also be terminated “for reasons based…on conditions
arising before [their] appointment.” 5 C.F.R. § 315.805.


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agency’s conclusions as to the inadequacies of his performance or conduct.” 5 C.F.R. § 315.804(a);

id. § 316.304. Probationary employees terminated for inadequate performance or conduct have

limited appeal rights. See, e.g., 5 C.F.R. § 315.806.

            b.           Reductions in force.

       Reduction-in-force procedures. A RIF “is an administrative procedure by which agencies

eliminate jobs and reassign or separate employees who occupied the abolished positions.” James

v. Von Zemenszky, 284 F.3d 1310, 1314 (Fed. Cir. 2002). “A RIF is not an adverse action against

a particular employee, but is directed solely at a position within an agency.” Id.; Schall v. U.S.

Postal Serv., 73 F.3d 341, 344 (Fed. Cir. 1996); see generally 5 C.F.R. Part 351 (regulations

governing RIFs). “A personnel action must be effected under RIF procedures” in certain

circumstances, including when the “action to be taken” is a “[s]eparation” or “[f]urlough for more

than 30 continuous days” and the “[r]easons for the action” are a “[r]eorganization,” “[l]ack of

work,” or “[s]hortage of funds.” U.S. Off. of Pers. Mgmt., Workforce Reshaping Operations

Handbook,        25-26    (2017)    [hereinafter       “OPM      Handbook”]    (emphasis   added),

tinyurl.com/2p9meucx; see 5 C.F.R. § 351.201(a)(2) (an agency “shall” follow RIF regulations

when employees are separated due to “lack of work” or “reorganization”); id. § 351.204.

       Conducting a RIF is lengthy process—it can take upwards of 12 to 18 months to plan. Ex.

HH, DiMartini Decl. ¶ 19. Agencies must ensure personnel records are complete and accurately

reflect retention preferences, and must establish “competitive areas” within which “employees

compete for retention under the RIF regulations.” OPM Handbook, supra, at 29; see 5 C.F.R.

§ 351.402. A competitive area may be as small as an “organization in a local commuting area that

is separate from other agency organizations” and may be as large as an entire agency. Summary of

Reduction in Force Under OPM’s Regulations, OPM.gov, tinyurl.com/9pz287wv (last visited

Mar. 7, 2025). Here, Defendants have not defined the particular “competitive areas” at issue for


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the terminations of their probationary employees.

       Once an agency establishes a competitive area, the agency must establish a retention

register of employees in each competitive level of positions included in the RIFs. 5 C.F.R.

§§ 351.403-351.404. It must then rank employees for retention based on their tenure group, time

in service (including military service), veteran preference, length of service, and performance. See

5 U.S.C. § 3502(a); 5 C.F.R. §§ 351.501-351.504. These RIF regulations expressly extend to

probationary employees and, in fact, grant probationary employees some retention preferences.

See 5 C.F.R. § 351.202(a), (b); id. § 351.501(b).

       RIF notices to Plaintiff States. Further, under a RIF, agencies are required to provide

advance notice to affected employees and, in circumstances relevant here, to states and local

governments. An employee “may not be released” as part of a RIF “unless” they receive 60 days’

“written notice” that provides information on reemployment and career transition assistance, and

also includes the option to share the employee’s “resume and other relevant employment

information for employment referral” with the “State unit or entity established under title I of the

Workforce Investment Act of 1998.” 5 U.S.C. § 3502(d); 5 C.F.R. § 351.803(a). And when a RIF

will result in the termination of “50 or more employees in a competitive area,” an agency must

“provide written notification of the action at the same time it issues specific notices of separation

to employees” to “[t]he State or the entity designated by the State to carry out rapid response

activities under title I of the Workforce Investment Act of 1998,” and also to “[t]he chief elected

official of local government(s) within which these separations will occur.” 5 C.F.R. § 351.803(b);

see 5 U.S.C. § 3502(d)(3)(A) (same). This notice requirement is absolute: Absent such notice, “an

employee may not be released . . . due to a reduction in force.” 5 U.S.C. § 3502(d)(1).

       Generally, this notice must be provided 60 days before any employee is terminated. See




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5 U.S.C. § 3502(d)(1)(B). When a RIF is caused by circumstances “not reasonably foreseeable,” a

shorter notice period may apply—but even then, the notice period must “cover at least 30 full days

before the effective date of release.” 5 C.F.R. § 351.801(b); 5 U.S.C. § 3502(e). The notice

provided to States and local officials must detail: (a) the number of employees to be separated,

broken down by geographic area; (b) when those separations will occur; and (c) any other

information that may facilitate the delivery of state and local services to affected workers. See

5 U.S.C. § 3502(d)(3)(B); 5 C.F.R. § 351.803(c).

           c. States’ rapid response assistance to displaced workers.

       Under the Workforce Investment Act of 1998 (“WIA”), which has been succeeded by the

Workforce Innovation and Opportunity Act of 2014 (“WIOA”),3 states must carry out “rapid

response activities” to assist dislocated workers in obtaining reemployment when there is a “mass

layoff” or “other event” causing a “substantial increase[] in the number of unemployed

individuals.”   29   U.S.C.    § 2864(a)(2)(A)(i)(II)   (Sec.    134(a)(2)(A)(i)(II)   of   WIA);

§ 3174(a)(2)(A)(i)(II) (Sec. 134(a)(2)(A)(i)(II) of WIOA). State law imposes similar requirements.

See, e.g., Md. Code Ann., Lab. & Empl. §§ 11-303, -304 (“quick response program”); N.J.S.A.

34:21-5 (“response team”). To comply with these obligations, states have “rapid response” teams,

established under the auspices of the state department of labor, or its equivalent, which implement

a coordinated, multiple-partner strategy to provide immediate assistance to individuals in the wake

of mass layoffs. See, e.g., Ex. A, MD DOL Decl. ¶ 12; Ex. H, NJ DOL Decl. ¶ 6; Ex. E, IL IDES



       3
          The rapid response duties imposed on states under Section 134(a)(2)(A) of WIA—
referenced in 5 U.S.C. § 3502(d)(3)(A)(i)—still apply under Section 134(a)(2)(A) of WIOA.
Compare 29 U.S.C. § 2864(a)(2)(A), with 29 U.S.C. § 3174(a)(2)(A). WIOA expressly provides
that “[e]xcept as otherwise specified, a reference in a Federal law to a provision of the Workforce
Investment Act of 1998 (29 U.S.C. 2801 et seq.) shall be deemed to refer to the corresponding
provision of [WIOA, as amended].” 29 U.S.C. § 3361(a).


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Decl. ¶¶ 28, 30; Ex. D, CA EDD Decl. ¶¶ 9-10; Ex. F, MA EOLWD Decl. ¶ 7; Ex. J, NY DOL

Decl. ¶ 7; Ex. K, OR OWI Decl. ¶ 5; Ex. C, AZ DES Decl. ¶¶ 3, 7-8; Ex. KK, CO DLE Decl. ¶ 6.

       States’ obligations are triggered by the “announcement or notification of a mass layoff,”

20 C.F.R. § 682.302, which is defined as “layoffs affecting 50 or more workers,” id. § 682.305(a),

or fewer if the state’s definition has a lower minimum threshold, id. § 682.305(b). Plaintiff States

provide rapid response services to those terminated as part of a RIF. See, e.g., Ex. A, MD DOL

Decl. ¶ 14; Ex. H, NJ DOL Decl. ¶ 12; Ex. D, CA EDD Decl. ¶¶ 11-12; Ex. C, AZ DES Decl.

¶¶ 9-10; Ex. F, MA EOLWD Decl. ¶14; Ex. J, NY DOL Decl. ¶ 7; Ex. K, OR OWI Decl. ¶¶ 12-

13; Ex. KK, CO DLE Decl. ¶¶ 12-13. Required rapid response services include: “the establishment

of onsite contact with employers and employee representatives”; “the provision of information and

access to available employment and training activities”; “the provision of emergency assistance”;

and “assistance to the local community in developing a coordinated response and in obtaining

access to State economic development.” 29 U.S.C. § 3102(51); see also Ex. H, NJ DOL Decl.

¶ 10; Ex. D, CA EDD Decl. ¶ 10; Ex. F, MA EOLWD Decl. ¶¶ 11-13; Ex. J, NY DOL Decl. ¶ 6;

Ex. K, OR OWI Decl. ¶¶ 10-11. The purpose of the rapid response system is to reduce reliance on

public benefit systems such as unemployment insurance, and to prevent or minimize the impact of

mass layoffs on workers, businesses, and communities, among other goals.

B.     Factual Background.

           a. Defendants are conducting mass terminations of probationary employees
              without providing notice to the states.

       The Trump Administration has continually sought “to dramatically reduce the size of the

federal workforce.” CHCO Email, Am. Fed’n of Gov’t Emps. v. OPM, No. 3:25-cv-1780 (N.D.

Cal. Feb. 26, 2025) [hereinafter “AFGE v. OPM”], ECF 37-1 at 1. On January 20, Acting OPM

Director Charles Ezell distributed a memorandum directing agency heads to “identify all



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employees on probationary periods . . . and [to] send a report to OPM listing all such employees.”

Memo. from Charles Ezell, Acting Dir., OPM, to Heads & Acting Heads of Dep’ts & Agencies 1

(Jan. 20, 2025), tinyurl.com/y4cjp5wh. The memo further directed agency heads to “promptly

determine whether those employees should be retained by the agency.” Id.

       On February 13, OPM met with agency heads and ordered the firing of probationary

employees. Chris Megerian et al., Trump administration begins sweeping layoffs with

probationary workers, warns of larger cuts to come, AP (Feb. 13, 2025), tinyurl.com/mtzwfc6j.

The next day, OPM reiterated that demand. OPM Email, AFGE v. OPM, ECF 37-1. It ordered

agencies to “separate probationary employees . . . not identified as mission critical no later

than . . . Monday, 2/17,” and it “attached a template [termination] letter” stating terminations were

due to performance. Id. at 1; see, e.g., Bachelder Decl., AFGE v. OPM, ECF 18-5 at ¶ 9; Frassetto

Decl., AFGE v. OPM, ECF 18-9 ¶ 22 [hereinafter “Frassetto Decl.”]; Evans Decl., AFGE v. OPM,

ECF 18-8 at ¶ 26 [hereinafter “Evans Decl.”]; Ex. HH, DiMartini Decl. ¶¶ 5-10.

       Agencies have heeded OPM’s demand. While some agencies had already begun to

terminate probationary employees by the dozens prior to OPM’s directive, still more agencies

immediately followed OPM’s directive by firing probationary employees by the hundreds and, in

many instances, thousands. On February 13, the Department of Energy terminated nearly 2,000

employees, the Department of Veterans Affairs terminated over 1,000 employees, and the

Department of Agriculture terminated around 3,400 employees. Compl. ¶¶ 115-16, 119. The next

day, the Department of Health and Human Services fired approximately 1,300 employees. Id.

¶ 124. Over the next few days, the Department of Interior fired 1,000 employees, the Department

of Agriculture fired 2,000 employees, and the Department of Treasury terminated over 6,000

employees. Id. ¶¶ 126-30. Although precise figures are hard to come by, to date, approximately




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24,000 probationary employees have been terminated, and thousands more terminations are

imminent. Id. ¶¶ 102-40. Every single one of these terminations has occurred without proper notice

to Plaintiff States, and Defendants have not provided notice of any forthcoming layoffs.

       In carrying out the terminations, the agencies have largely relied on the template

termination language provided by OPM, which generally stated that the employees were being

terminated because their “ability, knowledge, and skills do not fit the Agency’s current needs, and

[their] performance has not been adequate to justify further employment at the Agency.” Ex. N,

Sealed Decl. ¶ 5; Ex. HH, DiMartini Decl. ¶ 13. The precise language used varies slightly between

agencies, but within agencies, the same letter was largely used for all terminated employees.

Frassetto Decl. ¶ 17; Evans Decl. at ¶ 26.

       Although unsatisfactory performance can be a basis for terminating a probationary

employee, the mass firings were not based on individualized findings regarding the probationary

employees’ performance.4 A former OPM Director has stated publicly that it is “not possible . . .

for so many federal agencies to have independently and simultaneously decided to terminate large

numbers of their workers,” or “to have done proper assessments of all these employees.” Archuleta

Decl., AFGE v. OPM, ECF 18-4 ¶¶ 12-13; Ex. HH, DiMartini Decl. ¶¶ 15-17 (“[I]t would take

weeks or months to evaluate the job performance of [thousands of] employees”). Rather, as the

Chief Human Capital Officer of the Veterans Administration recently told Congress: Agencies

received “direction from [OPM]” and the termination notices sent to probationary employees were

“provided” to them. Andrea Hsu, Judge says Trump’s mass firing of federal employees is illegal

and should be stopped, NPR (Feb. 27, 2025), tinyurl.com/myw4bjdh. Some termination letters


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          Many employees who were purportedly terminated for unsatisfactory performance had
recently received stellar performance reviews. See, e.g., Ex. W, Sealed Decl. ¶ 11 (“Outstanding”);
Ex. X, Sealed Decl. ¶¶ 12 (“Exceeds Expectations”).


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noted expressly that the individual was being terminated “[p]er OPM instructions.” Schwartz Decl.

AFGE v. OPM, ECF 39-4 ¶ 10.

       The leadership of at least one agency—the National Science Foundation (“NSF”)—told its

employees that their termination letters were “boilerplate” provided by OPM, and that they were

“following orders” and “ha[d] no choice.” Frassetto Decl. ¶¶ 20. NSF leadership stated that their

initial decision to retain probationary employees had been overruled by OPM, which directed the

agency to “remove probationers” and provided them with only two justifications for these

removals: “performance or conduct.” Id. at 26, 30; see Ex. HH, DiMartini Decl. ¶¶ 5-6; Ex. GG,

Grant Decl. ¶ 11. The agency opted for “performance” to preserve terminated employees’ ability

to “apply for unemployment.” Frassetto Decl. at 26, 30; Evans Decl. ¶¶ 27-28. Leadership at one

agency also “discussed openly in meetings” that the agency “did not review or consider actual job

performance or conduct” of any terminated probationary employee. Ex. HH, DiMartini ¶ 16; Ex.

GG, Grant Decl. ¶ 19 (similar regarding terminations at another agency). OPM’s directive is “a

political effort to reduce headcount” but “without following the rules of a RIF.” Ex. HH, DiMartini

Decl. ¶¶ 15, 18; Ex. GG, Grant Decl. ¶ 21 (same). Indeed, some agencies have now confirmed, in

response to unemployment claims, that terminations were not done for cause, but were instead due

to a “reduction in force” or else a “permanent lack of work due to a change in Presidential

Administration.” Ex. A, MD DOL Decl. ¶¶ 61-62.

       On February 26, OPM issued additional guidance directing agencies to submit plans for

broader RIFs of federal employees by March 13. Memo. from Russel T. Vought, Dir., Off. of

Mgmt, & Budget & Charles Ezell, Acting Dir., OPM, to Heads of Executive Dep’ts & Agencies

(Feb. 26, 2025), tinyurl.com/mr2bum3d. This guidance directed agencies to address how they will

use certain “tools,” including “continuing to evaluate probationary employees” in designing




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upcoming RIF plans. Id. at 2-3. On March 3, following a district court order to OPM to rescind its

directive to terminate probationary employees,5 OPM revised its earlier January 20 guidance to

state: “OPM is not directing agencies to take any specific performance-based actions regarding

probationary employees. Agencies have ultimate decision-making authority over, and

responsibility for, such personnel actions.” Memo. from Charles Ezell, Acting Dir., OPM, to Heads

of Executive Dep’ts & Agencies 2 (Mar. 4, 2025), tinyurl.com/yf6vmhpy. To Plaintiff States’

knowledge, however, no Defendant agency has announced that it will reinstate all unlawfully fired

employees, or cease mass firings of probationary employees based on OPM’s revised language.

            b. States are grappling with a sudden uptick in unemployed residents and an
               unplanned spike in demand for public services.

       Since around January 20, many Plaintiff States have received a surge in unemployment

benefits claims filed by former federal employees. See, e.g., Ex. A, MD DOL Decl. ¶ 50 (813

claims); Ex. E, IL IDES Decl. ¶ 15 (446); Ex. H, NJ DOL Decl. ¶ 14 (388); Ex. D, CA EDD Decl.

¶ 30 (1,621); Ex. J, NY DOL Decl. ¶ 4 (550); Ex. KK, CO DLE Decl. ¶ 15 (544). These are already

material increases in the number of claims filed compared to the same period last year for many

states. See, e.g., Ex. A, MD DOL Decl. ¶¶ 50, 52 (330% increase); Ex. KK, CO DLE Decl. ¶ 15

(303%); Ex. H, NJ DOL Decl. ¶¶ 33-34 (273%); Ex. D, CA EDD Decl. ¶ 30 (149%); Ex. E, IL

IDES Decl. ¶¶ 15-16 (almost the same number of claims filed in last several weeks as in all of

2024); Ex. F, MA EOLWD Decl. ¶¶ 16-17 (“significant uptick”); Ex. J, NY DOL Decl. ¶ 4

(“significant increase”). This surge is only beginning because the effective dates for some

terminations have not yet passed and there will be a delay between when individuals are fired and

when they likely apply for benefits. But the trend is already clear. In the last few weeks, the



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           See AFGE v. OPM, ECF 45.


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Maryland Department of Labor has received approximately 30 to 60 claims every day. Ex. A, MD

DOL Decl. ¶ 18; see also, e.g., Ex. KK, CO DLE Decl. ¶ 15 (20-30 claims per day).

       Yet Plaintiff States’ departments of labor have received no notice of these terminations.

See, e.g., Ex. A, MD DOL Decl. ¶ 16; Ex. H, NJ DOL Decl. ¶ 13; Ex. E, IL IDES Decl. ¶ 29; Ex.

D, CA EDD Decl. ¶ 13; Ex. F, MA EOLWD Decl. ¶ 15; Ex. C, AZ DES ¶ 10; Ex. J, NY DOL

Decl. ¶ 8; Ex. K, OR OWI Decl. ¶ 14; Ex. KK, CO DLE Decl. ¶ 14. As a result, Plaintiff States

cannot identify workers subjected to federal mass layoffs who are entitled to rapid response

services and assistance with their benefits claims without devoting significant time, resources, and

expense. Plaintiff States must affirmatively contact various federal agencies, monitor public

reporting, rely on word-of-mouth, and conduct mass outreach to identify impacted workers,

determine if additional firings will occur, and to attempt to provide services to those employees.

See, e.g., Ex. A, MD DOL Decl. ¶¶ 19-22, 22-23; Ex. H, NJ DOL Decl. ¶¶ 17-18; Ex. E, IL IDES

Decl. ¶ 29; Ex. D, CA EDD Decl. ¶¶ 16-17, 19; Ex. F, MA EOLWD Decl. ¶¶ 18-22; Ex. K, OR

OWI Decl. ¶¶ 15-19. Some Plaintiff States also are diverting or expecting to divert staff from other

pressing projects and retrain them to provide these services. See, e.g., Ex. A, MD DOL Decl. ¶¶ 24-

28 (diverting several individuals from working on state matters such as occupational and

professional licensing oversight, financial regulation, and state-funded workforce development

projects); Ex. H, NJ DOL Decl. ¶¶ 18, 20; Ex. E, IL IDES Decl. ¶¶ 31-33; Ex. F, MA EOLWD

Decl. ¶¶ 24-30. Other Plaintiff States have even created websites for terminated federal employees

to assist them in seeking unemployment compensation and reemployment resources. See, e.g.,

Amber Anderson, DC launches unemployment website for federal workers amid job status chaos,

WUSA9 (Feb. 25, 2025), tinyurl.com/4ec8cfsx; Ex. A, MD DOL Decl. ¶ 29; Ex. E, IL IDES Decl.

¶ 32. And another Plaintiff State set up a dedicated telephone line. Ex. D, CA EDD Decl. ¶ 19.




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                                      STANDARD OF REVIEW

         Temporary restraining orders are designed to preserve the status quo during the pendency

  of litigation. Mountain Valley Pipeline, LLC v. 6.56 Acres of Land, 915 F.3d 197, 216 n.8 (4th Cir.

  2019). A TRO is warranted when the movant demonstrates that: (1) “the movant is likely to

  succeed on the merits,” (2) “the movant will likely suffer irreparable harm in the absence of

  preliminary relief,” (3) “the balance of equities favors preliminary relief,” and (4) “injunctive relief

  is in the public interest.” Profiles, Inc. v. Bank of Am., 453 F.Supp.3d 742, 746 (D. Md. 2020)

  (cleaned up). The balance of equities and the public interest factors “merge when the Government

  is the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009).


                                              ARGUMENT

I.       PLAINTIFF STATES HAVE STANDING.

         To establish Article III standing, a plaintiff must demonstrate injury in fact, causation, and

  redressability. TransUnion LLC v. Ramirez, 594 U.S. 413, 423 (2021). Here, Plaintiff States are

  suffering a series of concrete and irreparable harms because of Defendants’ failure to provide

  notice required by law, and their unlawful firings. See supra B.b; infra Part III. These harms

  include “a direct injury in the form of a loss of specific tax revenues,” Wyoming v. Oklahoma, 502

  U.S. 437, 438 (1992), as well as harms to the operations of state agencies and informational harms,

  infra Part III. The “chain of economic events” is “realistic” and “predictabl[y]” flows from

  Defendants’ unlawful actions. New York v. Yellen, 15 F.4th 569, 577 (2d Cir. 2021) (internal

  quotation marks and citation omitted). Further, this Court may remedy these harms, and Plaintiff

  States are expressly referenced in “the particular provision(s) of law upon which [Plaintiffs] seek

  redress,” so they fall comfortably within the zone of interest. Taubman Realty Grp. Ltd. v. Mineta,

  320 F.3d 475, 480 (4th Cir. 2003).



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II.           PLAINTIFF STATES ARE LIKELY TO SUCCEED ON THE MERITS.

              Plaintiff States are likely to succeed in showing that Defendants have violated the APA

      and that their actions are ultra vires.

              A.      Defendants have violated the Administrative Procedure Act.

              This Court may review multiple final agency actions taken in violation of the law: OPM’s

      January 20, February 13, and 14 directives to terminate probationary employees en masse, and

      Defendants’ unlawful RIFs—i.e., their termination of tens of thousands of probationary employees

      for non-performance reasons. These acts are contrary to law and arbitrary and capricious.

                   a. Defendants’ actions are reviewable final agency actions.

              Under the APA, the Court may review the lawfulness of a “final agency action.” 5 U.S.C.

      §§ 702, 704. “Agency action” is defined expansively to include “the whole or a part of an agency

      rule, order, license, sanction, relief, or the equivalent or denial thereof, or failure to act,” id.

      § 551(13), which “cover[s] comprehensively every manner in which an agency may exercise its

      power,” Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 478 (2001). An agency action is “final”

      when it is the “consummation of the agency’s decisionmaking process” and is an action “by which

      rights or obligation have been determined, or from which legal consequences will flow.” Bennett

      v. Spear, 520 U.S. 154, 177-78 (1997) (internal quotation marks and citations omitted).

              Here, there are two types of “final agency actions” at issue. First, the directives that OPM

      issued to agencies on January 20, February 13, and February 14 to terminate probationary

      employees are final agency actions. As the Fourth Circuit instructs, “a court should consider the

      practical effect of the agency’s determination” when assessing finality. Chamblee v. Espy, 100

      F.3d 15, 17 (4th Cir. 1996) (internal quotation marks and alterations omitted). Here, OPM’s

      directives were “definitive” and with “immediate practical effects.” Flue-Cured Tobacco Coop.

      Stabilization Corp. v. EPA, 313 F.3d 852, 856 (4th Cir. 2002). In response to these directives,


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agencies have terminated tens of thousands of federal employees. Thousands of additional

terminations are likely imminent. The U.S. District Court for the Northern District of California

recently held, based on a “mountain of evidence,” that OPM “unlawfully direct[ed] the mass

termination of probationary employees across a wide range of federal agencies,” AFGE v. OPM,

ECF 45 at 8-9, and that its actions were reviewable, id. at 9, 11-13.6 And OPM’s recent two-

sentence modification to its directive, stating that OPM is not directing mass firings, does not moot

this issue. The directive continues to instruct agencies to take steps to fire probationary employees,

and neither OPM nor Defendant agencies have sought to undo the harm caused by this directive,

namely to fully remediate the termination of probationary employees.

       Second, Defendants’ unlawful RIFs—that is, their termination of tens of thousands of

employees for non-performance reasons, without notice—are final agency actions subject to this

Court’s review. 5 U.S.C. § 706(2). Agencies must comply with “non-discretionary” procedural

mandates when a RIF is initiated. See, e.g., Winnebago Tribe of Nebraska v. Babbitt, 915 F. Supp.

157, 165-66 (D.S.D. 1996) (APA review is available when the issue before the Court is “not the

decision to issue the RIF or the procedure for implementing the RIF” but “the defendant’s failure

to comply with the duty to consult . . . prior to making the decision”). And few other actions are

as “final” as a termination. Burdue v. FAA, 774 F.3d 1076, 1080 (6th Cir. 2014) (employee

termination is a “final agency action”); Ex. O, Sealed Decl. ¶ 5 (citing Ex. 1 (“final decision”)).



       6
          Specifically, the court in that case ordered OPM to rescind its January 20 memo, February
14 email, and all other efforts to “direct the termination of employees” at six federal agencies.
AFGE v. OPM, ECF No. 45 at 24. That decision reaches only OPM and its director (because they
were the only named defendants) and does not require federal agencies to halt terminations or
perform other mandatory duties—it therefore does not remedy Plaintiff States’ injuries in this case.
To crystallize the point: regardless of whether the Defendant agencies here were following OPM’s
directive, they conducted unlawful RIFs. The relief granted in AFGE v. OPM does not encompass
the relief that Plaintiff States seek here, including reinstatement of terminated employees.


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           b. Defendants’ failure to provide notice to states is contrary to law.

       Agency actions taken “in excess of statutory jurisdiction, authority, or limitations, or short

of statutory right,” or that are otherwise “not in accordance with law,” cannot withstand judicial

review. 5 U.S.C. § 706(2)(A), (C). The rule in this Circuit is clear: “An agency of the government

must scrupulously observe rules, regulations, or procedures which it has established. When it fails

to do so, its actions cannot stand and courts will strike it down.” Morris v. McCaddin, 553 F.2d

866, 870 (4th Cir. 1977) (compiling authorities); Fed. Defenders of N.Y., Inc. v. Fed. Bureau of

Prisons, 954 F.3d 118, 130 (2d Cir. 2020) (explaining that it is a “deeply rooted principle[] of

administrative law, not to mention common sense, [that] government agencies are generally

required to follow their own regulations”) (collecting authorities).

       Congress delegated to OPM the authority to promulgate regulations that agencies must

follow in implementing RIFs. 5 U.S.C. § 3502(a). And, exercising this authority, OPM has issued

detailed RIF procedures that expressly encompass the separation of probationary employees. See

generally C.F.R. Part 351; see also 5 C.F.R. § 351.202(a), (b); id. § 351.501(b); id. § 351.502 (a),

(b). Critically, an agency “shall” conduct a RIF when it separates employees, or places them on

furlough for more than 30 days, “because of lack of work; shortage of funds; insufficient personnel

ceiling; or reorganization.” Id. § 351.201(a)(2). That is precisely what happened here—

probationary employees have been separated because the new Administration seeks a massive

reorganization of the federal government. See supra B.a; Ex. HH, DiMartini Decl. ¶ 16 (OPM

sought to “reduce headcount”). And when an agency conducts a RIF, it must provide advance

notice to states and local governments when 50 or more employees will be terminated in a

competitive area. 5 U.S.C § 3502; 5 C.F.R. § 351.803.

       The Defendant agencies were required to follow RIF procedures in conducting mass firings

of probationary employees—including the state notice procedures. The Defendants’ performance-


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based reasons for terminating probationary employees are clearly pretextual and the firings are,

instead, part of the new Administration’s efforts to massively restructure and reduce the size of the

federal workforce. See supra B.a. Indeed, the purportedly performance-based mass terminations

were pretextual because they were conducted directly pursuant to OPM’s orders, and because they

were effectuated without a good faith assessment of performance or conduct.

       As to OPM’s orders, these firings have largely occurred at OPM’s direction even though,

as a federal court recently recognized, “[n]o statute—anywhere, ever—has granted OPM the

authority to direct the termination of employees in other agencies.” AFGE v. OPM, ECF 45 at 7.

Yet OPM provided agencies with direction and boilerplate termination language that is untethered

from any particularized assessment of performance or conduct. Agencies used that language to

terminate tens of thousands of employees in a matter of days—and have admitted that they were

“following orders” and “ha[d] no choice.” Frassetto Decl. ¶ 20.

       The mass firings are also pretextual because they were performed without any good faith

assessment of performance or conduct, or often without any assessment at all. As a former Human

Capital Officer for the IRS explained, “Treasury did not review or consider the actual job

performance or conduct of any IRS probationary employee when issuing the termination notices,”

a fact that was “discussed openly in meetings.” Ex. HH, DeMartini Decl. ¶ 14. And a recently

terminated Deputy Director for Operations of one agency similarly explained that the termination

of probationary employees in his unit was “not based on any individualized assessment of the

probationary employees.” Ex. GG, Grant Decl. ¶ 19. Indeed, the relevant human resources official

“never read a single person’s resume, never spoke with any of the terminated probationary

employees, and had no personal knowledge of their individual performance.” Ex. GG, Grant Decl.

¶ 19. It is therefore unsurprising that, in responding to inquiries from state labor departments about




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unemployment benefits, agencies have in some cases admitted that separations occurred due to a

“reduction in force,” and due a “permanent lack of work due to a change in Presidential

Administration.” See Ex. A, MD DOL Decl. ¶¶ 61-62.

       Because Defendants are broadly terminating employees to shrink the federal workforce,

they are conducting a RIF, and are accordingly in violation of statutes and regulations governing

the RIF process. The law requires the provision of 60 days’ notice to “[t]he State or the entity

designated by the State to carry out rapid response activities under title I of the Workforce

Investment Act of 1998,” and also to “[t]he chief elected official of local government(s) within

which these separations will occur.” 5 C.F.R. § 351.803(b); see 5 U.S.C. § 3502(d)(3)(A).7 There

is nothing discretionary about these notice requirements. Congress made its intention clear by

using mandatory language: “Notice . . . shall be given.” Id. § 3502(d)(3)(A) (emphasis added).

And the agencies’ own regulations reiterate that “the agency must provide written notification” to

states. 5 C.F.R. § 351.803(b) (emphasis added); cf. Heelen v. Dep’t of Com., 154 F.3d 1306, 1309

(Fed. Cir. 1998) (noting that an agency must “demonstrat[e] . . . compliance with proper RIF

procedures”). Defendants have simply ignored these statutory and regulatory commands, making

their actions contrary to law.

           c. Defendants’ actions are arbitrary and capricious.

       The APA also prohibits agencies from engaging in arbitrary and capricious action. 5 U.S.C.

§ 706(2)(A). Agency action must be premised on “reasoned decisionmaking.” Dep’t of Homeland

Sec. v. Regents of the Univ. of Cal., 591 U.S. 1, 16 (2020). Generally, an agency may not “rel[y]

on factors that Congress did not intend for it to consider, entirely ignore[] important aspects of the


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         As noted above, because Defendants have not conducted lawful RIFs, they have not yet
defined the precise “competitive areas” at issue—but it is beyond dispute that tens of thousands of
probationary employees have been fired to date.


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problem, explain[] its decision in a manner contrary to the evidence before it, or reach[] a decision

that is so implausible that it cannot be ascribed to a difference in view.” Bedford Cnty. Memorial

Hosp. v. HHS, 769 F.2d 1017, 1022 (4th Cir. 1985) (citing Motor Vehicle Mfrs. Ass’n v. State

Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)). The rationale proffered by the agency also

must be the actual reason for the agency’s action. Dep’t of Com. v. New York, 588 U.S. 752, 780,

785 (2019). It cannot be “pretextual” or “contrived.” Id. Here, OPM’s directives and the agencies’

implementation of them are arbitrary or capricious for at least three reasons.

       First, Defendants failed to consider important aspects of the problem before terminating

probationary employees en masse and without any advance warning or notice. State Farm Mut.,

463 U.S. at 43. To survive arbitrary-and-capricious review, an agency must demonstrate that it

“considered the factors relevant to its decision and articulated a rational connection between the

facts found and the choice made.” Keating v. FERC, 569 F.3d 427, 433 (D.C. Cir. 2009). That did

not happen here. To begin, Defendants ignored the downstream effects of firing tens of thousands

of employees without warning. That was a mistake. For one thing, the effects on states are

profound. Those include, among other things, an unexpected spike in unemployment of federal

workers, an increase in demand for public services, a decrease in tax revenue, and the expenditure

of significant time and resources to support a growing unemployed population. See infra Part III.

Moreover, the Defendants—and OPM in particular—did not adequately consider the impact

sudden and unexpected mass terminations would have on agency programming. Without notice,

states have been deprived of vital resources to protect the public health and ensure emergency

preparedness because the relevant federal employees were terminated—a consequence the

Defendants do not seem to have considered. See, e.g., Ex. I, NJ DOH Decl. ¶ 5-12. Put another

way, Defendants seem to have engaged in no cost-benefit analysis whatsoever before executing




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these unlawful RIFs. That lack of balancing is unreasonable and arbitrary. See, e.g., Michigan v.

EPA, 576 U.S. 743, 759 (2015) (holding that it was “unreasonable” for the agency to treat cost as

“irrelevant”); Bus. Roundtable v. SEC, 647 F.3d 1144, 1148 (D.C. Cir. 2011) (concluding that the

SEC acted arbitrarily where it failed to “adequately . . . assess the economic effects of a new rule”).

       Second, it is arbitrary to abruptly fire thousands of employees without notice or

consideration of their individual performance and expertise, or the impact on agencies’ ability to

carry out their statutory duties. Probationary employees are not an undifferentiated mass. Some

are experts who have spent years in government and recently been promoted; some are nearing the

two-year mark in federal service; others may have been hired only weeks ago. See 5 C.F.R.

§ 315.801. Some may have higher performance ratings than their non-probationary peers. Some—

even if not “mission critical”—handle essential tasks like overseeing our nuclear weapons program

or preventing the spread of bird flu and other communicable diseases. See Meg Kinnard, A

comprehensive look at DOGE’s firings and layoffs so far, AP (Feb. 21, 2025),

tinyurl.com/kz4wryed; Ex. I, NJ DOH Decl. ¶¶ 5-8. Treating all these employees alike, as OPM

required, makes no sense. Ex. HH, DiMartini Decl. ¶¶ 5-7. On-the-ground experience supports

that commonsense point: Defendants’ actions have succeeded only in creating widespread chaos.

See Jill Colvin et al., Anger, chaos and confusion take hold as federal workers face mass layoffs,

AP (Feb. 14, 2025), tinyurl.com/4dma39z7.

       Third, Defendants relied on false statements to justify terminating probationary employees

en masse without following RIF procedures. As the U.S. District Court for the Northern District

of California correctly explained, “[r]eliance on facts that an agency knows are false . . . is the

essence of arbitrary and capricious decisionmaking.” AFGE v. OPM, ECF 45 at 10 (quoting

Missouri Serv. Comm’n v. FERC, 337 F.3d 1066, 1075 (D.C. Cir. 2003)). Defendant agencies have




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claimed that probationary employees’ “performance has not been adequate to justify further

employment at the Agency.” Ex. DD, Sealed Decl. ¶ 6 (referencing internal Exhibit A). But as

discussed, that rationale is false. See supra B.a. Courts are “not required to exhibit a naiveté from

which ordinary citizens are free”—they may recognize pretext for what it is. Dep’t of Com., 588

U.S. at 785 (internal quotation marks and citation omitted).

       B.      Defendants’ actions are ultra vires.

       Defendants have unlawfully terminated tens of thousands of federal employees without

any statutory authority to do so. “Administrative agencies are creatures of statute” and “possess

only the authority that Congress has provided.” Nat’l Fed’n of Indep. Bus. v. Dep’t of Lab., 595

U.S. 109, 117 (2022). When agencies exercise authority not bestowed on them by Congress, they

act ultra vires, and their actions may be struck down by courts. See, e.g., Sierra Club v. Trump,

963 F.3d 874, 888-93 (9th Cir. 2020), vacated on other grounds, sub nom. Biden v. Sierra Club,

142 S. Ct. 46 (2021); Chamber of Com. of U.S. v. Reich, 74 F.3d 1322, 1327 (D.C. Cir. 1996).

       Defendants exceeded their authority by terminating probationary employees without

following long-established safeguards. See 5 U.S.C. § 4303(a) (detailing when terminations may

be made for cause); id. § 3502 (detailing RIF requirements). For the same reasons that Defendants’

defiance of RIF procedures is contrary to law, supra Part II.A.b, it is also ultra vires. Defendants

have terminated thousands of employees en masse as part of an unlawful RIF without complying

with their mandatory duty to provide Plaintiff States and affected employees advance notice, nor

have Defendants observed the detailed retention preferences governing a RIF. See 5 U.S.C.

§ 3502(a); Ex. A, MD DOL Decl. ¶ 72; Ex. HH, DiMartini Decl. ¶ 12 (explaining that one agency

was specifically directed not to carve out veterans when creating the list of probationary employees

to be terminated). See, e.g., Nat’l Ass’n of Postal Supervisors v. UPS, 26 F.4th 960, 960 (D.C. Cir.

2022) (ultra vires claim stated when agency failed to perform a mandatory duty of consultation).


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This is ultra vires action, plain and simple—the Defendant agencies have “stepped so plainly

beyond the bounds of [their] statutory authority, or acted so clearly in defiance of it, as to warrant

the immediate intervention of an equity court.” Fed. Express Corp. v. U.S. Dep’t of Com., 39 F.4th

756, 763 (D.C. Cir. 2022) (cleaned up).

        The same holds true for OPM’s express directions to agency heads to terminate

probationary employees in violation of governing RIF statutes and regulations. As one court

recently observed, “[n]o statute—anywhere, ever—has granted OPM the authority to direct the

termination of employees in other agencies.” AFGE v. OPM, ECF 45 at 7. In other words, this is

not a close call. In re Aiken Cnty., 725 F.3d 255, 259 (D.C. Cir. 2013) (“[T]he President [and its

subordinate agencies] may not decline to follow a statutory mandate or prohibition simply because

of policy objections.”). Plaintiffs are therefore likely to succeed on the merits of this action.

III.    PLAINTIFF STATES ARE SUFFERING IRREPARABLE INJURIES.

        Plaintiff States also satisfy the second requirement for preliminary relief: showing that

“irreparable injury is likely in the absence of an injunction.” Roe v. Dep’t of Def., 947 F.3d 207,

229 (4th Cir. 2020). Irreparable harm is injury that “cannot fully be rectified by the final judgment

after trial.” Mountain Valley Pipeline, 915 F.3d at 216.

        Where, as here, a procedural violation is alleged, irreparable harm is demonstrated by

pointing to “concrete interests” affected by the violation, and the irreparable injury that will likely

result. Ass’n of Cmty. Cancer Ctrs. v. Azar, 509 F. Supp. 3d 482, 500-01 (D. Md. 2020).

“[E]conomic damages may constitute irreparable harm where no remedy is available at the

conclusion of litigation.” Mountain Valley Pipeline, 918 F.3d at 366. This circumstance is present

here, as Defendants are federal agencies, and no applicable waiver of sovereign immunity permits

a suit for damages. Senior Execs. Ass’n v. United States, 891 F. Supp. 2d 745, 755 (D. Md. 2012)

(explaining that “monetary damages are an inadequate remedy” because they are “unavailable”


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due to federal sovereign immunity). Further, informational injury can also “be sufficient to

establish irreparable harm if the information sought is time-sensitive.” Sai v. Trans. Sec. Admin.,

54 F. Supp. 3d 5, 10 (D.D.C. 2014) (internal quotation marks omitted); see Wash. Post v. Dep’t of

Homeland Sec., 459 F. Supp. 2d 61, 75 (D.D.C. 2006) (similar). Plaintiff States are continuing to

suffer multiple irreparable injuries due to Defendants’ unlawful mass terminations. These injuries

are exactly what the RIF statutory scheme anticipates and is designed to guard against.

               A.      Irreparable injuries to rapid response efforts.

       Defendants’ failure to notify Plaintiff States of the RIFs has caused Plaintiff States to

devote significant additional resources to rapid response efforts to assist terminated federal

employees. These resource diversions would not have occurred and would not continue to occur—

and would not be as severe—if Defendants complied with the notice requirement. For example,

because states have not received advance notice of which agencies are planning to conduct mass

layoffs, many have been forced to divert staff (or anticipate doing so) to contact various federal

agencies, monitor public reporting, and conduct mass outreach to those they believe to be affected.

See supra Part B.b. Further, a greater number of unemployed residents will likely require rapid

response services now than would be the case had lawful RIFs been conducted because, without

notice, employees have not been able to find new jobs as efficiently and states’ efforts to support

that search have been stymied.

       Indeed, although Defendants have not supplied states with notice of any RIF, many

Plaintiff States have observed a surge in new claims for unemployment benefits by recently fired

federal workers. See supra Part B.b. Further, even with many Plaintiff States’ reallocation of

resources, the response to date has been chaotic, less effective, and more costly to the public than

if the required notice had been furnished. See, e.g., Ex. E, IL IDES Decl. ¶¶ 32-34; Ex. D, CA

EDD Decl. ¶¶ 19-20. And States cannot prepare and allocate resources for any future mass


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terminations without knowing how many employees will be terminated and when.

       These burdens stem from federal agencies’ failure to provide the legally required advance

notice of mass layoffs, which has left state personnel scrambling to fulfill their statutory duties.

Plaintiff States face irreparable injury from Defendants’ failure to provide time-sensitive

information in advance of the terminations—such as the number of employees to be separated,

when terminations will occur, and other information critical to preparing for and providing rapid

response. See Heritage Found. v. U.S. Dep’t of State, No. CV 24-2862 (TJK), 2024 WL 4607501,

at *4 (D.D.C. Oct. 29, 2024) (“irreparable harm” occurs “where the requested [information is]

time-sensitive and highly probative . . . of an imminent event”). Likewise, Plaintiff States suffer

ongoing irreparable injury from the increased burdens on their personnel and the need to pull staff

away from state projects. See Cook Cnty. v. Wolf, 962 F.3d 208, 233 (7th Cir. 2020) (irreparable

harm caused by need to “divert resources away from existing programs”).

               B.      Irreparable injuries to unemployment benefits administration.

       Moreover, because federal agencies have unlawfully conducted RIFs without any warning,

Plaintiff States will suffer irreparable injuries in the administration of their unemployment benefits

programs. Many states provide unemployment compensation payments to persons who become

unemployed through no fault of their own. For federal workers, these payments are generally

reimbursed by the federal government, who will pay Unemployment Compensation for Federal

Employees pursuant to 5 U.S.C. § 8502(a). The federal government also offers grants that cover

some of the overhead costs of administering unemployment benefits. See 42 U.S.C. §§ 501-503.

However, these federal grants are frequently less than the total costs incurred by Plaintiff States to

administer their unemployment benefits programs. See, e.g., Ex. A, MD DOL Decl. ¶ 37. As a

result, many Plaintiff States have often needed to cover the shortage with their own state funds.

See, e.g., Ex. A, MD DOL Decl. ¶ 38.


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       The ongoing and unlawful federal RIFs will likely cause a significant administrative

burden and increase costs in unemployment benefit administration, for two primary reasons. First,

the increase in federal layoffs and the corresponding increase in unemployment claims will impose

administrative burdens in terms of processing each claim. Many Plaintiff States have seen material

increases in unemployment claims due to the recent mass firings. See supra Part B.b. Each

additional claim filed inherently increases states’ administrative burden and expense, some of

which is borne by state funds. These administrative costs would have been mitigated had

Defendants provided notice of the terminations, thus alerting employees to seek alternative

employment and allowing states to assist employees in that search before their termination.

      Second, additional administrative burdens will result from state unemployment benefits

investigations necessitated by federal layoffs. When an employer alleges that an employee was

terminated for cause, such as deficient performance or misconduct, Plaintiff States’ laws generally

require their claims examiners to investigate the assertion to determine eligibility for

unemployment benefits. See, e.g., Ex. A, MD DOL Decl. ¶¶ 54-55, 67-72; Ex. H, NJ DOL Decl.

¶¶ 29-32; Ex. E, IL IDES Decl. ¶¶ 10-14; Ex. D, CA EDD Decl. ¶¶ 31-41; Ex. F, MA EOLWD

Decl. ¶¶ 46-54; Ex. KK, CO DLE Decl. ¶¶ 27-28. This labor-intensive process involves, among

other things, fact-finding interviews and written determinations. It also provides for multiple layers

of appeal. Thus, state personnel will be required to conduct time-consuming and expensive

administrative investigations into these and future unemployment claims. This process will impose

significant burdens on state administrative staff, and likely require further outlays of state funds,

constituting irreparable harm. See, e.g., DeOtte v. State, 20 F.4th 1055, 1068 (5th Cir. 2021) (states

showed cognizable harm via “financial injury” caused by “strain on [each of] its healthcare

programs”); Washington v. Trump, No. C25-0127-JCC, 2025 WL 415165, at *5 (W.D. Wash. Feb.




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6, 2025) (Executive Order creating unrecoverable and “substantial administrative costs for state

agencies” caused irreparable harm).

               C.      Irreparable injuries to health benefits agencies.

      Plaintiff States also anticipate increased costs to the agencies that enroll new participants in

Medicaid and other health-benefits programs. Without employer-funded insurance, terminated

employees will need to apply for state-administered insurance programs. See, e.g., Ex. X, Sealed

Decl. ¶ 7; Ex. W, Sealed Decl. ¶ 7; Ex. Q, Sealed Decl. ¶ 7. Fielding questions from terminated

employees, processing an unexpected influx of applications, and providing other health-benefits

services will consume state resources and irreparably harm Plaintiff States. See, e.g., Maryland

Workers Impacted by Recent Federal Actions, Maryland.gov (last visited Mar. 6, 2025),

tinyurl.com/bdfde3bp (providing resources for health coverage to terminated federal employees).

               D.      Irreparable injuries to state programs that depend on federal
                       workers.

       Plaintiff States also face operational harm to state programming that depended on federal

workers who were unlawfully fired. See, e.g., Ex. G, MA EOHHS Decl. ¶¶ 4, 6, 10; Ex. I, NJ DOH

Decl. ¶ 11; Ex. L, RI DOH Decl. ¶ 18. For example, some Plaintiff States’ departments of health

rely on federal civil service personnel recruited through the Center for Disease Control and

Prevention’s (“CDC”) Public Health Associate Program (“PHAP”). See, e.g., Ex. I, NJ DOH Decl.

¶¶ 5, 13 (citing 42 U.S.C. § 215); Ex. L, RI DOH Decl. ¶ 7. PHAP associates support “critical

public health work through emergency preparedness,” and manage “time-sensitive cases.” Ex. I,

NJ DOH Decl. ¶¶ 5, 11; see Ex. L, RI DOH Decl. ¶ 8. On or around February 15, these associates’

positions were abruptly terminated, and while some associates were later notified that they would

be reinstated, the sudden loss of essential personnel coupled with the lack of notice caused tangible

harms. Ex. I, NJ DOH Decl. ¶¶ 10, 11; Ex. L, RI DOH Decl. ¶ 18. Associates could not “ensur[e]



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their files were complete and ready for transition” to other employees, resulting in “administrative

inefficiencies, duplicative work,” and critical delays in communications with individuals exposed

to communicable diseases, straining the Department’s workforce capacity, with lasting impacts on

its work. Ex. I, NJ DOH Decl. ¶ 13. Furthermore, one associate will not be returning to their

position despite reinstatement, id. ¶ 9, 11-12, and at least one Plaintiff State has “yet to receive

confirmation” of the reinstatement of associates from CDC—this turmoil is straining at least some

Plaintiff States’ public health capacity. Id. ¶ 9, 11-12; Ex, L, RI DOH Decl. ¶ 18.

               E.      Irreparable injuries to state tax base.

       Finally, the unlawful and unnoticed federal mass layoffs will continue to cause irreparable

harm to Plaintiff States’ tax base. See, e.g., Ex. II, MD Comptroller Decl. ¶¶ 6-10. For example,

the large-scale terminations of probationary federal workers will cause a significant decline in tax

receipts for the District of Columbia. The District estimates that its lost income tax revenue for the

first 60 days alone, the period in which it should have received advance notice of any RIFs, will

cost the District at least hundreds of thousands of dollars in lost income tax revenue. See Ex. FF,

Clower Decl. Ex. B, OCFO Feb. 2025 Revenue Estimates, at 3 (expecting loss in income tax

revenue to be around hundreds of millions annually, which pro rata suggests millions of dollars

lost in 60 days); see also Ex. FF, Clower Decl. ¶ 9, tbl. 2 (estimating between hundreds of

thousands to millions of lost income tax revenue in 60 days, depending on number of jobs lost).

Similarly, the District will likely suffer sustained declines in sales tax revenue. See Ex. FF, Clower

Decl. Ex. B, OCFO Feb. 2025 Revenue Estimates, at 3 (expecting loss in sales tax revenue to be

in the tens of millions annually, suggesting millions of dollars lost in 60 days); Ex. FF, Clower

Decl. ¶ 9, tbl. 2 (estimating between tens of thousands to millions of lost income tax revenue in 60

days, depending on number of jobs lost).

       Had the District received the notice required by law, these losses would likely have been


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mitigated, including because some employees would have been able to obtain alternative

employment prior to their termination. See Ex. FF, Clower Decl. ¶ 12, tbl. 1, 3 (District’s “total

tax losses” for 1,000 federal employee terminations would be $1.1 million per year with notice

(Table 3) compared to $3.9 million per year without notice (Table 1)—an over three-fold increase

in fiscal harm). Such significant financial injury resulting directly from Defendants’ unlawful

terminations constitutes irreparable injury. See, e.g., Washington v. Trump, 441 F. Supp. 3d 1101,

1126 (W.D. Wash. 2020) (“loss of the tax revenue associated with” federal action constituted

irreparable injury); North Dakota v. EPA, 127 F. Supp. 3d 1047, 1059 (D.N.D. 2015) (same).

IV.    THE BALANCE OF EQUITIES AND THE PUBLIC INTEREST HEAVILY FAVOR A
       TEMPORARY RESTRAINING ORDER.

       Here, the public interest favors the Plaintiff States. “[T]he Government cannot suffer harm

from an injunction that merely ends an unlawful practice.” C.G.B. v. Wolf, 464 F. Supp. 3d 174,

218 (D.D.C. 2020) (internal quotation marks omitted). “There is generally no public interest in the

perpetuation of unlawful agency action.” Am. Fed’n of Tchrs. v. Bessent, No. CV DLB-25-0430,

2025 WL 582063, at *14 (D. Md. Feb. 24, 2025) (quoting League of Women Voters v. Newby, 838

F.3d 1, 12 (D.C. Cir. 2016)). But “‘there is a substantial public interest in having governmental

agencies abide by the federal laws’ . . . ‘that govern their existence and operations.’” Open Cmtys.

All. v. Carson, 286 F. Supp. 3d 148, 179 (D.D.C. 2017) (quoting League of Women Voters, 838

F.3d at 12). “And there is a strong public interest in curing the effects of the government’s unlawful

acts.” Am. Fed’n of Tchrs., 2025 WL 582063, at *14 (internal quotation marks and alterations

omitted). This is especially true in the employment context, as “the public ‘undoubtedly has an

interest in seeing its governmental institutions follow the law and treat their employees in

reasonable, nonarbitrary ways.’” Roe, 947 F.3d 207, 230-31 (4th Cir. 2020) (quoting Roe v.

Shanahan, 359 F. Supp. 3d 382, 421 (E.D. Va. 2019)). For the same reasons that Plaintiff States



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are likely to succeed on the merits, the equities and public interest require relief.

       There is a particularly strong public interest in ensuring that states are properly notified in

advance about a forthcoming RIF. Mass terminations of federal employees impose a direct

financial and administrative burden on states. As set forth above, Plaintiff States are suffering

administrative and resource strain, and additional irreparable harms to their economic interests.

See supra Part III. These harms will only be further exacerbated if the federal government

continues to fire probationary employees by the thousands.

       Lastly, the public interests favoring a TRO far outweigh any harms from temporarily

enjoining Defendants from terminating probationary employees and requiring the reinstatement of

probationary employees who were recently terminated. For decades, federal agencies have hired

and retained probationary employees. These regular expenditures have not caused federal agencies

undue injury in the years that they have been operating, as evidenced by the fact that agencies fired

their probationary employees en masse only when ordered to do so by OPM. See, e.g., Frassetto

Decl. ¶ 18 (the terminations were “not a decision the agency made” but “a direction [it] received”).

Temporarily enjoining Defendants would “preserve the status quo during the pendency of

litigation,” Mountain Valley Pipeline, 915 F.3d at 216 n.8, specifically, the “last uncontested status

between the parties which preceded the controversy,” League of Women Voters of N.C., 769 F.3d

at 236. And “[i]t is in the public interest to prevent the[] discharge [of federal employees] for

apparently arbitrary and indefensible reasons, at least until the Court can definitively decide the

merits of plaintiffs’ claims.” Roe, 947 F.3d at 231 (quoting Shanahan, 359 F. Supp. 3d at 421).


                                          CONCLUSION

       For the foregoing reasons, Plaintiff States’ motion should be granted, and the Court should

issue the accompanying proposed temporary restraining order.



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